Case 4:22-cr-40033-LLP     Document 108    Filed 06/01/23   Page 1 of 11 PageID #: 1383




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff                                     4:22-cr-40033


              vs.                                    MEMORANDUM OPINION
                                                             AND ORDER
 SKY THOMAS ROUBIDEAUX,
              Defendant




        Pending before the Court is Defendant Sky Roubideaux's motion for

 judgment of acquittal under Rule 29. (Doc. 91). In the alternative, Defendant

 seeks a new trial pursuant to Rule 33. (Id.). The Government opposes the motions.

 (Doc. 97). For the following reasons, the Court denies Defendant's motions.

 BACKGROUND


        Defendant was convicted by a jury of using a facility or means ofinterstate

 commerce to attempt to persuade, induce, entice, or coerce a person under eighteen

  years of age to engage in sexual activity in violation of 18 U.S.C. § 2422(b).(Doc.

 85). The evidence at trial was that the Government conducted an undercover

 operation using Grindr, an internet dating application through which people can

 arrange for casual sexual encounters. Defendant, 22 years old, responded to a
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 2 of 11 PageID #: 1384
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 3 of 11 PageID #: 1385
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 4 of 11 PageID #: 1386
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 5 of 11 PageID #: 1387
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 6 of 11 PageID #: 1388
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 7 of 11 PageID #: 1389
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 8 of 11 PageID #: 1390
Case 4:22-cr-40033-LLP   Document 108   Filed 06/01/23   Page 9 of 11 PageID #: 1391
Case 4:22-cr-40033-LLP   Document 108 Filed 06/01/23   Page 10 of 11 PageID #:
                                    1392
Case 4:22-cr-40033-LLP   Document 108 Filed 06/01/23   Page 11 of 11 PageID #:
                                    1393
